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                                                     U.S. Department of Justice

                                                     MATTHEW M. GRAVES
                                                     United States Attorney

                                                     District of Columbia


                                                     Judiciary Center
                                                     555 Fourth St., N.W.
                                                     Washington, D.C. 20530


                                                   December 16, 2021
HAND DELIVERED

Brandon Fellows
Inmate #377943
c/o Kimberlee Smith OR Ingrid Washington
1901 D Street SE
Washington, DC 20003


       Re:     Pro Se Discovery 2 in United States v. Brandon Fellows
               Case No. 21-cr-83 TNM
Mr. Fellows:

Enclosed you will find a CD containing the following documents:

      A letter to the Court dated December 13, 2021 updating the Court on the status of the
       requested contact lenses and discovery production;
      A scanned document from the jail indicating your refusal to accept a laptop with a CD
       and a thumb drive;
      10 redacted CTF Legal Mail Signature Forms from October 28, 2021 to December 7,
       2021;
      A redacted version of Serial 8 from the FBI Investigation Report which contains the FBI
       Form 302 of an interview with a tipster and 3 attachments to that interview;
      Serial 9 from the FBI Investigation Report which contains your criminal history;
      Serial 22 from the FBI Investigation Report which contains an FBI Form 302 and a Pen
       Register/Trap Trace from the United States District Court for the Northern District of
       New York (Matter Number MDJS-254);
      A redacted version of Serial 29 from the FBI Investigation Report which contains the
       MXU report with the tip information and subsequent follow-up;
      A redacted versions of Serial 30-32 from the FBI Investigation Report which contain
       interviews of witnesses; and
      Serial 55 of the FBI Investigation Report which contains the FBI Form 302 regarding a
       TikTok video posted on your account post-arrest.
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       The Government will continue to provide individual discovery as it becomes available in
addition to any future global discovery that you are allowed to view with supervision. If you
have any questions, please feel free to contact me at mona.furst@usdoj.gov or 316-269-6537.

                                                   Sincerely,

                                                   /s/ Mona Lee M. Furst
                                                   Mona Lee M. Furst
                                                   Assistant United States Attorney


Enclosure(s)
cc: Cara Halverson, AFPD




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